Case 18-09108-RLM-11             Doc 1553     Filed 08/31/21       EOD 08/31/21 17:54:03            Pg 1 of 21




                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


     In re:                                                  Chapter 11
                             1
     USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                            Debtor.


                  DEBTOR’S MOTION FOR ORDER APPROVING
       THE DISCLOSURE STATEMENT AND PLAN CONFIRMATION PROCEDURES

              USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11

 case (the “Debtor” or “USAG”), hereby submits this motion (the “Motion”) for the entry of an

 order (the “Disclosure Statement Order”), substantially in the form attached hereto as Exhibit A:

 (a) approving the Disclosure Statement (defined below); (b) establishing the voting deadline and

 other related dates and deadlines in connection with voting on the Plan (defined below);

 (c) approving procedures for soliciting, receiving, and tabulating votes on the Plan and for filing

 objections to the Plan; (d) approving the manner and forms of notice and other related documents;

 and (e) granting other relief relating thereto as set forth herein. In support of this Motion, the

 Debtor respectfully states as follows:

                                             JURISDICTION

              1.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

 core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (L), and the Court may enter a final

 order consistent with Article III of the United States Constitution. Venue is proper pursuant to 28

 U.S.C. §§ 1408 and 1409.



 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11          Doc 1553      Filed 08/31/21      EOD 08/31/21 17:54:03           Pg 2 of 21




         2.      The statutory and legal predicates for the relief requested herein are sections 105(a),

 502, 1123(a), 1124, 1125, 1126, and 1128 of title 11 of the United States Code, 11 U.S.C. §§ 101–

 1532 (the “Bankruptcy Code”), Rules 2002, 3003, 3016, 3017, 3018, and 3020 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 3018-1 of the Local Rules

 of the United States Bankruptcy Court for the Southern District of Indiana (the “Local Rules”).

                                           BACKGROUND

         3.      On December 5, 2018, USAG filed a voluntary petition for relief under chapter 11

 of the Bankruptcy Code.

         4.      The Debtor remains in possession of its property and continues to operate and

 maintain its organization as debtor in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No request has been made for the appointment of a trustee or examiner in this

 chapter 11 case.

         5.      On December 19, 2018, the United States Trustee appointed the Additional Tort

 Claimants Committee of Sexual Abuse Survivors (the “Survivors’ Committee” and, together with

 the Debtor, the “Plan Proponents”).

         6.      On August 31, 2021, the Plan Proponents filed the Joint Chapter 11 Plan Of

 Reorganization Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of

 Sexual Abuse Survivors [Dkt. 1551] (the “Plan”) and the Debtor filed the Disclosure Statement

 For Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The Additional
                                                                                                         2
 Tort Claimants Committee Of Sexual Abuse Survivors [Dkt. 1552] (the “Disclosure Statement”).




 2
  Capitalized terms used herein and not defined shall have the meanings ascribed to such terms in the Plan
 or Disclosure Statement.


                                                    2
Case 18-09108-RLM-11          Doc 1553     Filed 08/31/21      EOD 08/31/21 17:54:03         Pg 3 of 21




        7.       Concurrently with the filing of this Motion, the Debtor will provide notice (the

 “Disclosure Statement Hearing Notice”), in substantially the form attached hereto as Exhibit B,

 of a hearing to seek approval of the Disclosure Statement, which is scheduled for October 4, 2021

 at 10:30 a.m. (prevailing Eastern time) (the “Disclosure Statement Hearing”).

        8.       In accordance with Section 1126 of the Bankruptcy Code, the Plan classifies all

 holders of Claims into certain Classes for all purposes, including with respect to voting to accept

 or reject the Plan, as follows:

       CLASS                DESCRIPTION                  IMPAIRMENT                VOTING
             1     Other Priority Claims                 Unimpaired          Deemed to Accept
             2     PNC Bank Claim                        Unimpaired          Deemed to Accept
             3     Sharp Claim                           Unimpaired          Deemed to Accept
                   General Unsecured Convenience
             4                                           Unimpaired          Deemed to Accept
                   Claims
             5     General Unsecured Claims              Impaired            Yes
             6     Abuse Claims                          Impaired            Yes
             7     Personal Injury Claim                 Impaired            Yes
             8     USOPC Claim                           Impaired            Yes
             9     Indemnification Claims                Impaired            Yes
                   FCR Claim (only under the Full or
          10                                         Impaired                Yes
                   Partial Settlement Alternative)
                   Sexual Abuse Claims Filed After
          11                                             Impaired            Deemed to Reject
                   The Bar Date

        9.       Based on the foregoing, the Debtor will solicit votes to accept or reject the Plan

 from holders of Claims in Classes 5, 6, 7, 8, 9, and 10 (but Class 10’s vote will only be considered

 under the Full or Partial Settlement Alternative) (collectively, the “Voting Classes”). The Debtor

 will not solicit votes to accept or reject the Plan from Classes 1, 2, 3, 4, and 11 (collectively, the

 “Non-Voting Classes”).




                                                   3
Case 18-09108-RLM-11          Doc 1553          Filed 08/31/21   EOD 08/31/21 17:54:03   Pg 4 of 21




                                        RELIEF REQUESTED

         10.     The Debtor respectfully requests that the Court enter the Disclosure Statement

 Order: (a) approving the Disclosure Statement; (b) establishing the voting deadline and other

 related dates and deadlines in connection with voting on the Plan; (c) approving procedures for

 soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan;

 (d) approving the manner and forms of notice and other related documents; and (e) granting other

 relief relating thereto as set forth herein.

         11.     The following chart provides a timeline of the key dates and deadlines for the

 hearing on the Disclosure Statement and for which the Debtor seeks approval in connection with

 the hearing on Plan confirmation:

                                   Event                           Proposed Date
               Deadline to File Plan Exhibits E, H, I,       September 22, 2021,
               and J and Debtor and Survivors’               at 11:59 p.m. E.T.
               Committee Letters in Support
               Disclosure Statement Objection Deadline September 29, 2021,
                                                       at 11:59 p.m. E.T.
               Deadline to Respond to Disclosure             October 1, 2021,
               Statement Objections                          at 11:59 p.m. E.T.
               Disclosure Statement Hearing                  October 4, 2021,
                                                             at 10:30 a.m. E.T.
               Solicitation Deadline                         October 8, 2021
               Voting Deadline                               November 8, 2021
               Voting Report Filing Deadline                 November 12, 2021,
                                                             at 11:59 p.m. E.T.
               Plan Objection Deadline                       November 19, 2021,
                                                             at 11:59 p.m. E.T.
               Deadline to Respond to Plan Objections        December 3, 2021,
                                                             at 11:59 p.m. E.T.
               Confirmation Hearing                          December 8-9, 2021,
                                                             at 10:00 a.m. E.T.




                                                      4
Case 18-09108-RLM-11         Doc 1553      Filed 08/31/21      EOD 08/31/21 17:54:03          Pg 5 of 21




                                       BASIS FOR RELIEF

 I.     The Disclosure Statement Should Be Approved.

        12.     The Debtor requests that the Disclosure Statement be approved as providing

 “adequate information” within the meaning of Section 1125 of the Bankruptcy Code. Under

 Section 1125 of the Bankruptcy Code, a debtor must provide creditors with “adequate information”

 regarding any proposed chapter 11 plan:

        “[A]dequate information” means information of a kind, and in sufficient detail, as
        far as is reasonably practicable in light of the nature and history of the debtor and
        the condition of the debtor’s books and records, including a discussion of the
        potential material federal tax consequences of the plan to the debtor, any successor
        to the debtor, and a hypothetical investor typical of the holders of claims or interests
        in the case, that would enable such a hypothetical investor of the relevant class to
        make an informed judgment about the plan, but adequate information need not
        include such information about any other possible or proposed plan and in
        determining whether a disclosure statement provides adequate information, the
        court shall consider the complexity of the case, the benefit of additional information
        to creditors and other parties in interest, and the cost of providing additional
        information….”

 11 U.S.C. § 1125(a)(1).

        13.     Thus, a disclosure statement must, as a whole, provide information that is

 reasonably practicable to permit an informed judgment by creditors entitled to vote on a plan of

 reorganization. See, e.g., In re Distance Learning Systems of Indiana, Inc., No. 10-14617, Dkt. 112

 (Bankr. S.D. Ind. Apr. 19, 2012) (order approved disclosure statement as containing adequate

 information); In re Greenwood Point, LP, No. 10-569, Dkt. 116 (Bankr. S.D. Ind. Oct. 15, 2010)

 (same); In re Critical Access Health Services Corp., 09-92085, Dkt. 399 (Bankr. S.D. Ind. Dec.

 22, 2009); In re Kmart Corp., 310 B.R. 107, 120 (Bankr. N.D. Ill. 2004) (recognizing that

 disclosure statement was adequate). As one court has noted, “Congress purposely left vague the

 standard for judging what constitutes adequate information to allow the Court to make a case-by-

 case determination.” In re Ashley River Consulting, LLC, No. 14-13046, 2015 WL 6848113, at *7



                                                   5
Case 18-09108-RLM-11         Doc 1553      Filed 08/31/21      EOD 08/31/21 17:54:03         Pg 6 of 21




 (Bankr. S.D.N.Y. Nov. 6, 2015). A debtor need not include all potentially relevant information in

 a disclosure statement, as burdening a disclosure statement with “overly technical and extremely

 numerous additions . . serve[s] only to diminish the understanding of a typical creditor.” Id.

        14.     Here, the Disclosure Statement contains ample information regarding the Plan. It

 provides information regarding the Debtor’s nonprofit organization, the events leading to the

 Debtor’s chapter 11 case, and the major events in the bankruptcy case; explains the terms of the

 Plan; identifies the Classes of Claims under the Plan and the types of Claims contained in each

 Class; discloses the proposed treatment of, and the estimated recoveries for, each Class of Claims;

 conspicuously describes the release, injunction, and exculpation provisions contained in the Plan;

 sets forth certain non-monetary commitments; appends a liquidation analysis and cash flow

 projections; explains why the Debtor and the Survivors’ Committee believe the Plan is in the best

 interests of all of the Debtor’s stakeholders, including abuse claimants; and discloses various risk

 factors and tax consequences related to the Plan. The Disclosure Statement will also incorporate

 certain Exhibits to the Plan that set forth the allocation protocols for Abuse Claims and Future

 Claims. Accordingly, the Debtor respectfully submits that the Disclosure Statement more than

 satisfies the requirements of Section 1125 of the Bankruptcy Code and contains adequate

 information for voting Claimants.

        15.     In addition, pursuant to Bankruptcy Rule 3016(c), “[i]f a plan provides for an

 injunction against conduct not otherwise enjoined under the Code, the plan and disclosure

 statement shall describe in specific and conspicuous language (bold, italic, or underlined text) all

 acts to be enjoined and identify the entities that would be subject to the injunction.” Fed. R. Bankr.

 P. 3016(c).




                                                   6
Case 18-09108-RLM-11         Doc 1553      Filed 08/31/21     EOD 08/31/21 17:54:03         Pg 7 of 21




        16.     Detailed and conspicuous descriptions of the Plan’s injunction, release, and

 exculpation provisions are disclosed in Articles I, II, VI.C, VI.D, and IX.D of the Disclosure

 Statement. Article I.B.1.a of the Disclosure Statement also specifically identifies the non-debtor

 third-parties that would benefit from the Channeling Injunction, Settling Insurer Injunction, and

 releases proposed under the Plan’s Full or Partial Settlement Alternative. Article VI.D of the

 Disclosure Statement is set forth in bold and capitalized print. Accordingly, the Debtor submits

 that the Disclosure Statement complies with Bankruptcy Rule 3016(c) by conspicuously describing

 the conduct and parties to be enjoined, released, or exculpated by the Plan, and the Disclosure

 Statement should be approved.

 II.    The Solicitation And Voting Procedures Should Be Approved.

        A.      The Voting Deadline Should Be Approved.

        17.     Bankruptcy Rule 3017(c) provides that prior to approving the disclosure statement,

 the Court must fix a time within which the holders of claims may accept or reject the plan, and

 may also fix a date for the hearing on confirmation of the plan. Fed. R. Bankr. P. 3017(c). The

 Debtor requests the Court establish a date that is not less than twenty-eight (28) days from the

 deadline for the Debtor to distribute solicitation and other voting materials to holders of Claims in

 Voting Classes (the “Solicitation Deadline”) as the deadline (the “Voting Deadline”) by which

 Ballots (defined below) must be received by Omni Agent Solutions, Inc. (the “Balloting Agent”).

 The Debtor further requests that the Court require that all holders of Claims entitled to vote to

 accept or reject the Plan complete, execute, and return their Ballots so that they are actually

 received by the Balloting Agent on or before the Voting Deadline.




                                                  7
Case 18-09108-RLM-11         Doc 1553      Filed 08/31/21     EOD 08/31/21 17:54:03          Pg 8 of 21




        B.      Approval Of Form Of Ballots.

        18.     In accordance with Bankruptcy Rule 3018(c) and Local Rule 3018-1(b), the Debtor

 seeks approval of customized ballots (the “Ballots”). Although based on Official Form No. 314,

 the Ballots have been modified to: (a) with respect to the holders of Class 6 Abuse Claims, describe

 in plain language the proposed treatment of Class 6 Abuse Claims under the Plan and the Full or

 Partial Settlement Alternative or Litigation Only Alternative, and disclose that holders of Class 6

 Abuse Claims who are represented by counsel may instruct their counsel to submit and vote their

 Class 6 Claims on their behalf; (b) with respect to the holders of Class 5 General Unsecured

 Claims, explain that such holders may elect on their Ballots to reduce their Class 5 Claims to

 $500.00 and consent to treatment as a holder of a Class 4 General Unsecured Convenience Claim;

 and (c) with respect to all Voting Classes, include certain additional information that is relevant

 and appropriate for all holders of Claims, including instructions for submitting Ballots.

        19.     Local Rule 3018-1(b) allows the use of customized ballots so long as they are

 approved by the Court. The proposed form of Ballots should be approved because they are tailored

 to the specific needs and circumstances of this chapter 11 case. For example, the Ballots provide

 helpful voting instructions for claimants, and the Debtor’s Balloting Agent will customize each

 Ballot to include the name and address of the Claimant entitled to vote each Ballot, as well as the

 amount of their Claim (although holders of Claims in Classes 6, 7, 8, 9, and 10 will be allocated

 $1.00 solely for voting purposes, as described below).

        20.     The Ballots also explain to Claimants two options for submitting their Ballots. The

 Ballots state that they must be returned to and actually received by the Balloting Agent on or before

 the Voting Deadline by (1) the electronic ballot submission platform on the Balloting Agent’s

 website (the “E-Ballot Platform”) at https://omniagentsolutions.com/USAG-SAballots (Abuse




                                                  8
Case 18-09108-RLM-11         Doc 1553      Filed 08/31/21      EOD 08/31/21 17:54:03         Pg 9 of 21




 Claims and the FCR Claim) or https://omniagentsolutions.com/USAG-ballots (all other Claims),

 or (2) mail, overnight, or personal delivery to the Balloting Agent at USA Gymnastics Ballot

 Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367.

 The encrypted ballot data and audit trail created by each electronic submission on the E-Ballot

 Platform will become part of the record of any electronic Ballot submitted via the E-Ballot

 Platform and the electronic signature will be deemed to be an original signature that is legally valid

 and effective. Finally, the Ballots disclose that the Balloting Agent will not accept submission of

 Ballots except through (1) the E-Ballot Platform or (2) mail, overnight, or personal delivery, and

 that submission by any other means will cause a Claimant’s Ballot not to counted.

        21.      The Debtor requests that the Court approve the proposed form of Ballots. The

 proposed Ballots are attached as Exhibits to the proposed Disclosure Statement Order as follows:

                a. Class 5 Ballot: the ballot for the holders of Class 5 General Unsecured Claims
                   is appended as Exhibit 1 to the proposed Disclosure Statement Order;

                b. Class 6 Ballot: the ballot for the holders of Class 6 Abuse Claims is appended
                   as Exhibit 2 to the proposed Disclosure Statement Order;

                c. Class 7 Ballot: the Ballot for the holder of the Class 7 Personal Injury Claim is
                   appended as Exhibit 3 to the proposed Disclosure Statement Order;

                d. Class 8 Ballot: the Ballot for the holder of the Class 8 USOPC Claim is
                   appended as Exhibit 4 to the proposed Disclosure Statement Order;

                e. Class 9 Ballot: the Ballot for the holders of Class 9 Indemnification Claims is
                   appended as Exhibit 5 to the proposed Disclosure Statement Order; and

                f. Class 10 Ballot: the Ballot for the holder of the Class 10 FCR Claim is appended
                   as Exhibit 6 to the proposed Disclosure Statement Order.

        C.      Approval Of Solicitation Packages.

        22.     Bankruptcy Rule 3017(d) sets forth the materials that must be provided to holders

 of claims entitled to vote to accept or reject a plan for the purposes of soliciting their votes to

 accept or reject such plan and providing adequate notice of the hearing to confirm such plan. These


                                                   9
Case 18-09108-RLM-11         Doc 1553     Filed 08/31/21     EOD 08/31/21 17:54:03         Pg 10 of 21




  materials include: (a) the plan; (b) the approved disclosure statement; (c) a notice of time within

  which acceptances and rejections of such plan may be filed; and (d) any other information that the

  court may direct to certain holders of claims. Fed. R. Bankr. P. 3017(d).

         23.     Consistent with Bankruptcy Rule 3017(d), on or prior to the Solicitation Deadline,

  the Debtor will cause to be distributed solicitation packages (each, a “Solicitation Package,” and

  collectively, the “Solicitation Packages”) by first-class U.S. mail to those holders of Claims in

  the Voting Classes, or by e-mail if the Debtor does not have a mailing address for the holder of a

  Claim, consisting of the following:

                 a. the form of letter by the Debtor (the “Debtor’s Cover Letter”) explaining the
                    solicitation process and urging holders of Claims to vote to accept the Plan,
                    substantially in the form attached to the proposed Disclosure Statement Order
                    as Exhibit 7 (to be filed with the Court on or before September 22, 2021 at
                    11:59 p.m. (E.T.));

                 b. the form of letter by the Survivors’ Committee (the “Survivors’ Committee’s
                    Letter”) to holders of Class 6 Abuse Claims recommending that such claimants
                    vote to accept the Plan, substantially in the form attached to the proposed
                    Disclosure Statement Order as Exhibit 8 (to be filed with the Court on or
                    before September 22, 2021 at 11:59 p.m. (E.T.));

                 c. the proposed Disclosure Statement Order (excluding exhibits thereto);

                 d. the notice of the hearing to consider confirmation of the Plan (the
                    “Confirmation Hearing Notice”), substantially in the form attached to the
                    proposed Disclosure Statement Order as Exhibit 9;

                 e. an appropriate form of Ballot;

                 f. the Disclosure Statement (and exhibits thereto, including the Plan); and

                 g. such other materials as the Court may direct.

         24.     Additionally, the Debtor will provide: (a) Solicitation Packages (excluding the

  Ballots, the Debtor’s Cover Letter, and the Survivors’ Committee’s Letter) to the U.S. Trustee, the

  Survivors’ Committee, the Indiana Attorney General, and all parties who have filed requests for




                                                  10
Case 18-09108-RLM-11         Doc 1553      Filed 08/31/21     EOD 08/31/21 17:54:03        Pg 11 of 21




  notices under Bankruptcy Rule 2002 as of the date the proposed Disclosure Statement Order is

  entered by the Court; and (b) the Confirmation Hearing Notice to all known holders of Claims.

         25.     The Debtor submits that the materials contained in the Solicitation Packages

  provide holders of Claims entitled to vote to accept or reject the Plan with the information they

  need to be able to make informed decisions with respect to how to vote. The requested procedures

  afford holders of Claims entitled to vote to accept or reject the Plan at least 28 days within which

  to review and analyze such materials and subsequently make an informed decision, prior to the

  Voting Deadline, on whether to vote to accept or reject the Plan. These procedures are consistent

  with the requirements of the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

  and the Local Rules.

         D.      Notices To Non-Voting Classes.

         26.     The holders of Claims in the Non-Voting Classes are not entitled to vote to accept

  or reject the plan because, in the case of Classes 1-4, they are not impaired, and in the case of

  Class 11, they will receive nothing under the plan. See 11 U.S.C. § 1126(f). Accordingly, the

  Debtor proposes to send holders of Claims in the Non-Voting Classes a notice of non-voting status

  (the “Notice Of Non-Voting Status”), in substantially the form attached to the proposed

  Disclosure Statement Order as Exhibit 10. The Notice of Non-Voting Status will include, among

  other things: (a) instructions as to how to view or obtain copies of the Disclosure Statement

  (including the Plan and other exhibits thereto) and the proposed Disclosure Statement Order;

  (b) notice of the Plan Objection Deadline (defined below); and (c) notice of the Confirmation

  Hearing (defined below), and information related to plan confirmation generally.

         27.     The Debtor submits that the mailing of the Notice Of Non-Voting Status in lieu of

  Solicitation Packages satisfies the requirements of Bankruptcy Rule 3017(d). Thus, unless the




                                                  11
Case 18-09108-RLM-11         Doc 1553       Filed 08/31/21      EOD 08/31/21 17:54:03          Pg 12 of 21




  Court orders otherwise, the Debtor will distribute the Notice Of Non-Voting Status to holders of

  Claims in the Non-Voting Classes instead of Solicitation Packages.

         28.     In addition, the Debtor will publish the Confirmation Hearing Notice (in a format

  modified for publication) one time on or before October 8, 2021 in the National Edition of USA

  Today. The Debtor will also post the Confirmation Hearing Notice, Plan, and Disclosure Statement

  on its website and the restructuring website.

         E.      The Solicitation And Voting Procedures Should Be Approved.

         29.     The Debtor respectfully requests that the Court approve the solicitation and voting

  procedures incorporated into the proposed Disclosure Statement Order (the “Solicitation and

  Voting Procedures”) and described herein, which are consistent with section 1126 of the

  Bankruptcy Code, Bankruptcy Rule 3018(a), and this Court’s Local Rules. The Debtor proposes

  the Solicitation and Voting Procedures solely for the purposes of voting to accept or reject the Plan

  and not for the purpose of the allowance of, or distribution on account of, any Claims, and without

  prejudice to the rights of the Debtor in any other context.

         30.     The Debtor requests that this Court exercise its authority under Sections 105(a) and

  502(c) of the Bankruptcy Code to approve the Solicitation and Voting Procedures. A summary of

  the voting procedures for the Claims in each of the Voting Classes is provided below:

                 a. Class 5: General Unsecured Claims. Each holder of a Class 5 General
                    Unsecured Claim that is liquidated, and each Class 5 General Unsecured Claim
                    that is partially liquidated and partially unliquidated, and that has not been
                    disallowed or objected to, shall be entitled to vote on account of such Claim in
                    the liquidated amount. Each holder of a Class 5 General Unsecured Claim that
                    is scheduled as contingent or unliquidated or disputed, or scheduled for $0.00,
                    for which no proof of claim has been filed, shall not be entitled to vote on
                    account of such Claim.

                 b. Class 6: Abuse Claims. Each holder of a Class 6 Abuse Claim will be allowed
                    to vote and allocated a Claim in the amount of $1.00 for voting purposes only.
                    To be clear, this allocation is solely to facilitate the ability of holders of Class 6



                                                    12
Case 18-09108-RLM-11     Doc 1553       Filed 08/31/21      EOD 08/31/21 17:54:03          Pg 13 of 21




                 Claims, which are unliquidated, to vote to accept or reject the Plan, and does
                 not reflect any assessment of the value of such Class 6 Claims.

             c. Class 7: Personal Injury Claim. The holder of the Class 7 Personal Injury Claim
                will be allowed to vote and allocated a Claim in the amount of $1.00 for voting
                purposes only. To be clear, this allocation is solely to facilitate the ability of the
                holder of the Class 7 Claim, which is unliquidated, to vote to accept or reject
                the Plan, and does not reflect any assessment of the value of the Class 7 Claim.

             d. Class 8: USOPC Claim. The holder of the Class 8 USOPC Claim will be
                allowed to vote and allocated a Claim in the amount of $1.00 for voting
                purposes only. To be clear, this allocation is solely to facilitate the ability of the
                holder of the Class 8 Claim, which is unliquidated, to vote to accept or reject
                the Plan, and does not reflect any assessment of the value of the Class 8 Claim.

             e. Class 9: Indemnification Claims. Each holder of a Class 9 Indemnification
                Claim will be allowed to vote and allocated a Claim in the amount of $1.00 for
                voting purposes only. To be clear, this allocation is solely to facilitate the ability
                of holders of Class 9 Claims, which are unliquidated, to vote to accept or reject
                the Plan, and does not reflect any assessment of the value of such Class 9
                Claims.

             f. Class 10: FCR Claim. The holder of the Class 10 FCR Claim will be allowed
                to vote and allocated a Claim in the amount of $1.00 for voting purposes only.
                To be clear, this allocation is solely to facilitate the ability of the holder of the
                Class 10 Claim, which is unliquidated, to vote to accept or reject the Plan, and
                does not reflect any assessment of the value of the Class 10 Claim. The vote of
                the Class 10 FCR Claim will only be counted if the Plan Proponents jointly
                elect the Full or Partial Settlement Alternative.

       31.   Additional Solicitation and Voting Procedures are as follows:

             a. Allowance of Claims for Voting Purposes:
                    i.   If a Claim is deemed Allowed under the Plan, such Claim shall be
                         Allowed for voting purposes in the deemed Allowed amount set forth in
                         the Plan.
                  ii.    If a Claim is partially liquidated and partially unliquidated, such Claim
                         shall be allowed in the liquidated amount solely for purposes of voting
                         on the Plan.
                  iii.   The holders of Claims in Classes 6, 7, 8, 9, and 10 shall have their
                         Claims temporarily allowed to vote and allocated a Claim in the amount
                         of $1.00 for voting purposes only; provided, however, this allocation is
                         made solely to facilitate the ability of holders of Claims in Classes 6, 7,
                         8, 9, and 10 to vote to accept or reject the Plan, because the Claims in
                         such Classes are unliquidated, does not reflect any assessment of the



                                                13
Case 18-09108-RLM-11           Doc 1553       Filed 08/31/21      EOD 08/31/21 17:54:03            Pg 14 of 21




                               value of such Claims, and shall not have any bearing on the value of
                                                                                     3
                               such Claims for purposes of allowance or distribution.
                        iv.    Claims scheduled as contingent, unliquidated, or disputed, and for
                               which no proof of claim has been filed, are disallowed for voting
                               purposes.
                        v.     Claims scheduled by the Debtor for $0.00, and for which no proof of
                               claim has been filed, as well as proofs of claim filed for $0.00, are
                               disallowed for voting purposes.
                        vi.    If a Claim has been amended, the Claimant shall be entitled to vote on
                               account of the subsequently filed amending Claim, and the Claimant
                               shall not be entitled to vote on account of the previously filed amended
                               Claim, regardless of whether the Debtor has objected to such amended
                               Claim.
                       vii.    Any entity who has filed or purchased duplicate Claims within the same
                               Voting Class shall be provided with only one Solicitation Package and
                               one Ballot for voting a single Claim in such Voting Class, regardless of
                               whether the Debtor has objected to such duplicate Claims.
                      viii.    To the extent any entity holds or has filed more than one non-duplicative
                               Claim in a particular Voting Class, such entity must vote all of its non-
                               duplicative Claims in a particular Voting Class either to accept or reject
                               the Plan, and may not split its vote within a particular Voting Class. For
                               the purposes of the numerosity requirement of Section 1126(c) of the
                               Bankruptcy Code, separate Claims held by a single entity in a particular
                               Class shall be aggregated as if such entity held one Claim against the
                               Debtor in such Class, and the vote on account of such Claims shall be
                               treated as a single vote to accept or reject the Plan.
                        ix.    Ballots must be returned to and actually received by the Balloting Agent
                               on or before the Voting Deadline by (1) the electronic ballot submission
                               platform on the Balloting Agent’s website (the “E-Ballot Platform”),
                               or (2) mail, overnight, or personal delivery. The E-Ballot Platform is an
                               online customized balloting portal to be maintained by the Balloting
                               Agent. Instructions for casting an electronic Ballot may be found on the
                               Ballot Agent’s website at https://omniagentsolutions.com/USAG-
                               SABallots      (Abuse      Claims    and the FCR            Claim) or
                               https://omniagentsolutions.com/USAG-Ballots (all other Claims). The
                               encrypted ballot data and audit trail created by each electronic
                               submission on the E-Ballot Platform will become part of the record of
                               any electronic Ballot submitted in this manner and the electronic
                               signature will be deemed to be an original signature that is legally valid
                               and effective. Any Ballot submitted by any means other than (1) the E-

  3
    A portion of the Claim in Class 8 is liquidated. Nevertheless, Class 8 will be temporarily allowed only in
  the amount of $1.00 for voting purposes only. The holder of the Claim in Class 8 will vote only in Class 8
  and not in any other Class.


                                                      14
Case 18-09108-RLM-11     Doc 1553      Filed 08/31/21     EOD 08/31/21 17:54:03          Pg 15 of 21




                        Ballot Platform or (2) mail, overnight, or personal delivery to the
                        Balloting Agent will not be counted.
                  x.    If any Ballot is validly executed and submitted to the Balloting Agent
                        on or before the Voting Deadline but does not indicate either acceptance
                        or rejection of the Plan, such Ballot will be counted as an acceptance of
                        the Plan.
                  xi.   Any validly executed and timely Ballot that indicates both acceptance
                        and rejection of the Plan shall be counted as an acceptance of the Plan.
                 xii.   If the Debtor’s Balloting Agent receives more than one Ballot on the
                        same day and on account of the same Claim, and each Ballot is voted
                        inconsistently, such Ballots will constitute an acceptance of the Plan.
                xiii.   Holders of Class 6 Abuse Claims may submit their Ballots themselves
                        or direct their counsel to submit such Ballots on their behalf. If a Class 6
                        Abuse Claimant elects to vote their Class 6 Ballot themselves, the Ballot
                        shall contain such Class 6 Abuse Claimant’s original signature (or
                        electronic signature if submitted through the E-Balloting Platform). If a
                        Class 6 Abuse Claimant directs their counsel to submit their Class 6
                        Ballot on their behalf, counsel shall sign such Class 6 Ballot and shall
                        include with such Class 6 Ballot a declaration, submitted under penalty
                        of perjury, that such counsel is authorized to file such Class 6 Ballot on
                        behalf of such Class 6 Abuse Claimant.
             b. Challenges To Allowance Of Claims For Voting Purposes. If any entity seeks
                to challenge the disallowance of their Claim for voting purposes, or the amount
                in which their Claim is Allowed for voting purposes, such entity shall file with
                the Court and serve upon the Debtor, the Survivors’ Committee, and the U.S.
                Trustee a motion for an order pursuant to Bankruptcy Rule 3018(a) (a “Rule
                3018(a) Motion”) temporarily allowing such Claim in a requested amount for
                purposes of voting to accept or reject the Plan on or before the date that is at
                least three (3) business days prior to the Voting Deadline. As to any entity filing
                a Rule 3018(a) Motion, such entity’s Ballot shall not be counted unless
                temporarily allowed by the Court for voting purposes, after notice and a
                hearing, which hearing may be held contemporaneously with the Confirmation
                Hearing (defined below).
             c. Ballots Not Counted. The following Ballots shall not be counted or considered
                for any purpose in determining whether the Plan has been accepted or rejected:
                   i.   Any Ballot that is illegible or contains insufficient information to permit
                        the identification of the holder of the Claim.
                  ii.   Any Ballot sent to the Plan Proponents, the Plan Proponents’ agents or
                        representatives (other than the Balloting Agent), or the Bankruptcy
                        Court; provided, however, that the Debtor shall transfer any hard copies
                        of Ballots transmitted to the Debtor at its headquarters at 1099 N.
                        Meridian Street, Suite 800, Indianapolis, Indiana 46204 on or before the
                        Voting Deadline to the Balloting Agent for counting, and the Court may,


                                              15
Case 18-09108-RLM-11     Doc 1553      Filed 08/31/21      EOD 08/31/21 17:54:03          Pg 16 of 21




                        in its discretion, transfer or direct the transfer of any Ballots sent to the
                        Court on or before the Voting Deadline to the Balloting Agent for
                        counting.
                 iii.   Any Ballot transmitted to the Balloting Agent by facsimile or other
                        means not specifically approved herein.
                  iv.   Any Class 6 Ballot that does not contain an original signature by a
                        Class 6 Abuse Claimant (or electronic signature if submitted via the E-
                        Balloting Platform); provided, however, that the signature of a Class 6
                        Abuse Claimant’s counsel on the Ballot will be counted for such Class 6
                        Abuse Claimant if such counsel includes with the Class 6 Ballot a
                        declaration, submitted under penalty of perjury, that such counsel is
                        authorized to file such Class 6 Ballot on behalf of such Class 6 Abuse
                        Claimant.
                  v.    Any Ballot cast by an entity that (1) does not hold a Claim in a Voting
                        Class or (2) is not otherwise entitled to vote pursuant to the procedures
                        described herein.
             d. Rejected Ballots. Except as otherwise provided herein and subject to any
                contrary order of the Court, the Debtor shall be entitled to reject as invalid, and
                exclude from counting for voting purposes, any Ballot that is not timely
                submitted on or prior to the Voting Deadline. Expressly reserved are the
                Debtor’s rights to reject any and all Ballots that are not in proper form, the
                acceptance of which, in the opinion of the Debtor, would not be in accordance
                with the provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local
                Rules, or the proposed Disclosure Statement Order. The Balloting Agent shall
                include a schedule of any rejected Ballots, and the reason(s) for their rejection,
                in the voting report required by Local Rule 3018-1(c) (the “Voting Report”),
                which shall be filed by the Voting Report Filing Deadline.
             e. Multiple Ballots. If multiple Ballots are received from the same holder of a
                Claim with respect to the same Claim prior to the Voting Deadline, the last
                validly executed Ballot timely received shall count for voting purposes, subject
                to contrary order of the Court.
             f. No Vote-Splitting. Any Ballot that partially rejects and partially accepts the
                Plan will not be counted.
             g. Defective Ballots: The Debtor, subject to contrary order of the Court, may
                waive any defects or irregularities as to any particular Ballot at any time, either
                before or after the Voting Deadline; provided, however, that (1) any such
                waivers shall be documented in the Voting Report; (2) neither the Debtor, nor
                any other entities, will be under any duty to provide notification of such defects
                or irregularities other than as provided in the Voting Report, nor will any such
                party incur any liability for failure to provide such notification; and (3) unless
                waived by the Debtor, subject to contrary order of the Court, any defects or
                irregularities associated with the delivery of Ballots must be cured prior to the
                Voting Deadline or such Ballots will not be counted.



                                               16
Case 18-09108-RLM-11        Doc 1553      Filed 08/31/21     EOD 08/31/21 17:54:03         Pg 17 of 21




                 h. Returned Solicitation Packages And Notices. If any Solicitation Packages,
                    Disclosure Statement Hearing Notices, Confirmation Hearing Notices, or other
                    mailings contemplated by the proposed Disclosure Statement Order are
                    returned as undeliverable by the United States Postal Service or other carrier,
                    or by e-mail, the Debtor shall not be required to re-send such mailings to the
                    applicable entity, and the Debtor’s notice obligations under the Bankruptcy
                    Code, Bankruptcy Rules, Local Rules, and the proposed Disclosure Statement
                    Order with respect to each such mailing shall be deemed satisfied. The Debtor
                    shall only be required to re-send any Solicitation Package, notice, or other
                    mailing if the entity whose service was returned as undeliverable provides the
                    Balloting Agent with an accurate mailing address not less than ten (10) calendar
                    days prior to the Solicitation Deadline. For the avoidance of doubt, if any entity
                    has changed its mailing address during this chapter 11 case, the burden rests
                    exclusively upon such entity to advise the Balloting Agent of its new address.
                 i. Non-Substantive Or Immaterial Modification: The Plan Proponents shall be
                    permitted to make non-substantive or immaterial changes to the Disclosure
                    Statement, Plan, Ballots, Disclosure Statement Hearing Notice, Confirmation
                    Hearing Notice, Debtor’s Cover Letter, Survivors’ Committee’s Letter, Notice
                    Of Non-Voting Status, and any other related documents approved by the
                    proposed Disclosure Statement Order without further order of the Court,
                    including, without limitation, changes to correct typographical and grammatical
                    errors and to make conforming changes among the Disclosure Statement, the
                    Plan, and any other materials in the Solicitation Packages prior to their
                    distribution.

         32.     For Class 6 Abuse Claimants who stated on their Proofs of Claim that they are

  represented by counsel, the Debtor, through the Balloting Agent, will distribute the Solicitation

  Packages on or before the Solicitation Deadline by first-class U.S. mail to both the Class 6 Abuse

  Claimant and his or her counsel, and by electronic mail to Class 6 Abuse Claimants’ counsel (to

  the extent the Plan Proponents have electronic mail addresses for such counsel).

         33.     Finally, the Debtor proposes not to mail Solicitation Packages or other solicitation

  materials to: (a) holders of Claims that have already been paid in full during the Debtor’s

  chapter 11 case, or (b) any party to whom the Disclosure Statement Hearing Notice was sent but

  was subsequently returned as undeliverable.

         34.     The Debtor believes that the Solicitation and Voting Procedures and other relief as

  requested herein are appropriate and in compliance with the Bankruptcy Code, Bankruptcy Rules,


                                                  17
Case 18-09108-RLM-11         Doc 1553       Filed 08/31/21      EOD 08/31/21 17:54:03       Pg 18 of 21




  and Local Rules. Good cause exists for the approval of the Solicitation and Voting Procedures, as

  these Solicitation and Voting Procedures will maximize efficiencies in the solicitation and voting

  processes and minimize costs to the estate. The Debtor therefore requests that the Court approve

  the Solicitation and Voting Procedures.

         F.      Establishing Confirmation Hearing Date, Notice, And Objection Procedures.

         35.     In accordance with Bankruptcy Rule 3017(c) and Section 1128 of the Bankruptcy

  Code, the Debtor requests that the Court establish December 8-9, 2021, beginning at 10:00 a.m.

  (prevailing Eastern time) each day, as the dates for the hearing at which the Court will consider

  confirmation of the Plan (the “Confirmation Hearing”). The Debtor requests that any order

  setting the Confirmation Hearing provide that the hearing may be continued from time to time by

  the Plan Proponents or by the Court without further notice to parties in interest other than by

  announcing such adjournment in open court and/or a notice of adjournment filed by the Plan

  Proponents      and      posted      on      the        Debtor’s   restructuring      website      at

  https://omniagentsolutions.com/usagymnastics.

         36.     Bankruptcy Rules 2002(b), 2002(d), and 3018(a) require not less than twenty-

  eight (28) days’ notice to all creditors of the time fixed for filing objections and the hearing to

  consider confirmation of a chapter 11 plan. To satisfy this requirement, the Debtor will serve the

  Confirmation Hearing Notice on all known holders of Claims and the parties entitled to notice in

  this chapter 11 case (regardless of whether such parties are entitled to vote to accept or reject the

  Plan) by the Solicitation Deadline, which will provide all parties in interest adequate notice of the

  Plan Objection Deadline (defined below) and of the Confirmation Hearing. The Debtor will also

  post the Confirmation Hearing Notice on its website and the restructuring website.




                                                     18
Case 18-09108-RLM-11        Doc 1553      Filed 08/31/21    EOD 08/31/21 17:54:03         Pg 19 of 21




         37.     The Confirmation Hearing Notice will include, without limitation: (a) instructions

  as to how to view or obtain copies of the Disclosure Statement (including the Plan and the other

  exhibits thereto), the proposed Disclosure Statement Order, and all other materials in the

  Solicitation Packages from the Debtor’s restructuring website, the Balloting Agent, and the

  Court’s website via PACER; (b) notice of the Voting Deadline; (c) notice of the Plan Objection

  Deadline; and (d) notice of the Confirmation Hearing and information related thereto.

         38.     Pursuant to Bankruptcy Rule 3020(b)(1), objections to confirmation of a plan

  must be filed and served “within a time fixed by the court.” Fed. R. Bank. P. 3020(b)(1). The

  Debtor requests that the Court establish November 19, 2021 at 11:59 p.m. (prevailing Eastern

  time) as the deadline by which objections to the Plan must be filed with the Court and served so

  as to be actually received by the Plan Proponents (the “Plan Objection Deadline”). The

  Confirmation Hearing Notice provides, and the Debtor requests, that the Court direct that,

  objections to confirmation of the Plan or proposed modifications to the Plan, if any, must (a) be

  in writing, (b) conform to the Bankruptcy Rules, the Local Rules, and any orders of the Court,

  (c) state the name and address of the objecting party and the amount and nature of the Claim of

  such party, (d) state with particularity the basis and nature of any objection to the Plan and, if

  practicable, provide a proposed modification or additional suggested language to amend the Plan

  in a manner that would resolve such objection, (e) be filed, contemporaneously with a proof of

  service, with the Court on or before the Plan Objection Deadline; and (f) be served on the Plan

  Proponents and the U.S. Trustee, so as to be actually received by the Plan Objection Deadline. The

  Debtor further requests leave for it and/or the Survivors’ Committee to file omnibus responses to

  any Plan objections.




                                                 19
Case 18-09108-RLM-11        Doc 1553      Filed 08/31/21    EOD 08/31/21 17:54:03        Pg 20 of 21




         39.    The proposed timing for filing and service of objections and proposed

  modifications, if any, will afford the Court, the Plan Proponents, and other parties in interest

  sufficient time to consider the objections and proposed modifications prior to the Confirmation

  Hearing.

         40.    The Debtor submits that good cause exists to approve the various deadlines and

  procedures described above in connection with the Court’s consideration of the Disclosure

  Statement and confirmation of the Plan. Accordingly, the Debtor requests that the Court enter the

  proposed Disclosure Statement Order.

                                             NOTICE

         41.    The Debtor will provide notice of this Motion in accordance with the Order

  Granting Debtor’s Motion For Order Establishing Certain Notice, Case Management, And

  Administrative Procedures [Dkt. 213].

         42.    In addition, upon filing this Motion, the Debtor will serve all known creditors and

  all other parties entitled to notice pursuant to Bankruptcy Rule 2002 with a copy of this

  Motion and the Disclosure Statement Hearing Notice, which as set forth above includes,

  without limitation: (a) the date, time, and place of the Disclosure Statement Hearing; (b) the

  manner in which a copy of the Disclosure Statement (and exhibits thereto, including the Plan) can

  be obtained; and (c) the deadline and procedures for filing objections to the approval of the

  Disclosure Statement. Further, in accordance with Bankruptcy Rule 3017(a), the Debtor will

  provide copies of the Plan and the Disclosure Statement to the U.S. Trustee, the Survivors’

  Committee, the Indiana Attorney General, and any other party in interest who requests such




                                                 20
Case 18-09108-RLM-11           Doc 1553       Filed 08/31/21       EOD 08/31/21 17:54:03            Pg 21 of 21



                     4
  copies in writing.

          43.     In light of the nature of the relief requested herein, the Debtor submits that no other

  or further notice is necessary.

          WHEREFORE, the Debtor respectfully requests that the Court enter the order substantially

  in the form annexed hereto as Exhibit A, granting the relief requested herein and such further relief

  as is just and proper.


  Dated: August 31, 2021                            Respectfully submitted,

                                                    JENNER & BLOCK LLP


                                                    By: /s/ Catherine Steege
                                                    Catherine L. Steege (admitted pro hac vice)
                                                    Dean N. Panos (admitted pro hac vice)
                                                    Melissa M. Root (#24230-49)
                                                    Adam T. Swingle (admitted pro hac vice)
                                                    353 North Clark Street
                                                    Chicago, Illinois 60654
                                                    (312) 222-9350
                                                    csteege@jenner.com
                                                    dpanos@jenner.com
                                                    mroot@jenner.com
                                                    aswingle@jenner.com
                                                    Counsel for the Debtor




  4
   Although Bankruptcy Rule 3017(a) contemplates notice to the Securities and Exchange Commission as
  well, the Debtor submits that such notice is unnecessary under the particular facts and circumstances of this
  chapter 11 case. The Debtor is a non-profit organization with no securities or equity interests held by the
  public and no reporting obligations to the Securities and Exchange Commission.


                                                       21
